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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                           )
                                                   )
            v.                                     )      Criminal No. 18-292
                                                   )
ROBERT BOWERS                                      )

                                 JOINT STATUS REPORT

       The parties, through undersigned counsel, have met and conferred as directed by the

Court. See ECF 778. The parties further state as follows:

           1. In light of the Court’s setting the “presumptive first day of voir dire” for

    April 24, 2023, ECF 788, the parties agree to submit a joint proposal suggesting

    additional deadlines and start dates for case-related matters and issues that are not

    already addressed in prior orders by the Court. The parties agree to submit the joint

    proposal by October 31, 2022.

           2. The following matters are fully or partially briefed and pending further

    ruling by the Court:

                 a. Motion for Confidential Testing (fully briefed);

                 b. Joint Proposed Jury Selection Procedures and Juror Questionnaire (fully

                    briefed);1




1
 The defense requested a modification to its Proposed Question 43(a) of the Juror
Questionnaire, which the government opposed. See ECF 780 at 14-15 (proposing a
modified question regarding religious affiliation to mirror a Pew Research Survey
question); ECF 790 at 5-6 (government response).
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    c. Motion to Conduct a Survey of Potential Jurors to Determine Religious

       Affiliation (defense reply due on September 29, 2022);

    d. Renewed Motion to Dismiss the Counts Charging Use of a Firearm in

       Connection with a Crime of Violence (government’s response due on

       October 5, 2022; defense reply due on October 17, 2022);

    e. Motion to Prohibit the Death Qualification of Jurors (government’s

       response due on September 30; defense reply due on October 11, 2022);

    f. Motion to Exclude Evidence Based Upon Insufficiency of Disclosures

       (defense supplement due September 30, 2022; government’s response

       due October 14, 2022; defense reply due October 21, 2022).

 3. The following matters are scheduled to be briefed or disclosed:

    a. Motion to Trifurcate the Proceedings (defense motion due on October

       31, 2022; government’s response due on November 14, 2022; defense

       reply due on November 28, 2022);

    b. Defense compliance with guilt-phase Rule 16 (b) obligations (deadline

       of October 25, 2022);

    c. Daubert challenges to expert testimony (motions due on November 7,

       2022; responses due on November 28, 2022; replies due on December 1,

       2022);

    d. Joint Proposed Jury Instructions and Verdict Forms (due January 13,

       2023);
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            e. Rule 12.2(b)(2) Notice (defense notice due on February 23, 2023; joint

               statement and briefing on mental health procedures due on March 9,

               2023).

       4. Based upon its review of the government’s guilt phase expert disclosures,

and consultation with experts, the defense intends to file a motion seeking the

inspection of certain hardware and software used by the government in its forensic

analysis of items of evidence, including lg_knock_bruteforce.py, CAKE v. 1.5.7, and

Gladiator Autonomous Receiver Hardware and Software. The defense expects to file

the motion no later than October 10, 2022. The United States will oppose this motion.

       5. The Court has scheduled a status conference for December 15, 2022, at

1:00 p.m.
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Respectfully submitted,


/s/ Judy Clarke                           CINDY K. CHUNG
Judy Clarke                               United States Attorney
Clarke Johnston Thorp & Rice, PC
                                          /s/ Troy Rivetti
/s/ Michael N. Burt                       Troy Rivetti
Michael N. Burt                           Assistant U.S. Attorney
Law Offices of Michael Burt, PC           PA ID No. 56816

/s/ Michael J. Novara                     /s/ Soo C. Song
Michael J. Novara                         Soo C. Song
First Assistant Federal Public Defender   Assistant U.S. Attorney
                                          D.C. Bar No. 457268
/s/ Elisa A. Long
Elisa A. Long                             /s/ Eric G. Olshan
Supervisory Assistant Federal Public      Eric G. Olshan
Defender                                  Assistant U.S. Attorney
                                          IL ID No. 6290382

                                          /s/ Nicole Vasquez Schmitt
                                          Nicole Vasquez Schmitt
                                          Assistant U.S. Attorney
                                          PA ID No. 320316

                                          /s/ Mary J. Hahn
                                          Mary J. Hahn
                                          Trial Attorney
                                          Civil Rights Division
                                          DC ID No. 500193
